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                                                                                       INTPR,PROTO
                                   U.S. District Court
                            District of Wyoming (Cheyenne)
                  CRIMINAL DOCKET FOR CASE #: 2:14−cr−00007−ABJ−1

  Case title: USA v. Castro−Cruz                            Date Filed: 01/15/2014
                                                            Date Terminated: 09/15/2017

  Assigned to: Honorable Alan B Johnson

  Defendant (1)
  Marco Castro−Cruz                           represented by Sean Hays Barrett
  TERMINATED: 09/15/2017                                     5239 Fishing Bridge
  also known as                                              P O Box 3018
  Guero                                                      Cheyenne, WY 82009
  TERMINATED: 09/15/2017                                     307/286−8440
  also known as                                              Fax: 307/638−2473
  Juan Ramirez−Perez                                         Email: sbarrettattorney@yahoo.com
  TERMINATED: 09/15/2017                                     LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Federal Public Defender

  Pending Counts                                            Disposition
  None

  Highest Offense Level (Opening)
  None

  Terminated Counts                                         Disposition
  21 U.S.C. 846 and 841(a)(1) and
  (b)(1)(C) Conspiracy to Distribute Heorin                 Case transferred for plea and sentence
  Resulting in Death                                        under rule 20 to the District of Colorado
  (1)
  21 U.S.C. 846 and 841(a)(1) and
  (b)(1)(C) and 18 U.S.C. 2 Distribution of
  Heroin Resulting in Death and Aiding and                  Case transferred for plea and sentence
  Abetting the Distibution of Heorin                        under rule 20 to the District of Colorado
  resulting in Death
  (2)

  Highest Offense Level (Terminated)
  Felony

  Complaints                                                Disposition
  None


  Plaintiff
  USA                                         represented by Bradley W Giles
                                                             UNITED STATES ATTORNEYS
                                                             OFFICE
                                                             1801 California Street
                                                             Suite 1600
                                                             Denver, WY 80202
                                                             303−454−0100
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                                                              Fax: 303−454−0401
                                                              Email: bradley.giles@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Retained

                                                              Guy Till
                                                              UNITED STATES ATTORNEYS
                                                              OFFICE
                                                              1801 California Street
                                                              Suite 1600
                                                              Denver, CO 80202
                                                              303/454−0100
                                                              Fax: 303/454−0401
                                                              Email: guy.till@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Retained

   Date Filed   #   Docket Text
   01/15/2014   1 INDICTMENT as to Marco Castro−Cruz (1) count(s) 1, 2. (Court Staff, sth) (Entered:
                  01/16/2014)
   01/15/2014   2 MOTION for Detention Hearing by USA as to Defendant(s) Marco Castro−Cruz.
                  (Court Staff, sth) (Entered: 01/16/2014)
   01/15/2014   3 Praecipe for Warrant by Plaintiff USA as to Defendant(s) Marco Castro−Cruz aka
                  Juan Ramirez−Perez aka Guero. (Court Staff, sth) (Entered: 01/16/2014)
   01/16/2014   4 Warrant Issued as to Marco Castro−Cruz. (Court Staff, sth) (Entered: 01/16/2014)
   10/17/2014   6 ORDER by the Honorable Alan B Johnson granting 5 Motion to Unseal Case as to
                  Marco Castro−Cruz (1).(Court Staff, sth) (Entered: 10/17/2014)
   05/02/2017   7 MOTION for Protective Order for Discovery by USA as to Defendant(s) Marco
                  Castro−Cruz. (Attachments: # 1 Proposed Order)(Till, Guy) (Entered: 05/02/2017)
   05/03/2017   8 PROTECTIVE ORDER granting 7 Motion for Protective Order as to Marco
                  Castro−Cruz (1) by the Honorable Alan B Johnson.(Court Staff, ssw) (Entered:
                  05/03/2017)
   09/15/2017   9 CONSENT TO TRANSFER JURISDICTION (Rule 20) to District of Colorado
                  Counts closed as to Marco Castro−Cruz (1) Count 1,2. (Court Staff, ssw) (Entered:
                  09/15/2017)
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF WYOMING

 UNITED STATES OF AMERICA,

                        Plaintiff,

        v.                                                      Case No. 14-cr-7-J

 MARCO CASTRO-CRUZ,
 aka Juan Ramirez-Perez,
 aka Guero

                        Defendant.


        GOVERNMENT'S UNOPPOSED MOTION FOR PROTECTIVE ORDER
                          FOR DISCOVERY

       NOW COMES the United States of America, by and through its counsel, Bradley W. Giles

and Guy Till, Special Assistant United States Attorney, hereby moves this Court for a protective

order prohibiting defense counsel from copying, disseminating or otherwise disclosing any and all

of discovery materials disclosed in this case for the following reasons.

       1.      The above captioned case stems from a wiretap investigation in the District of

Colorado and is related to a pending case in the United States District Court for the District of

Colorado (Criminal Number 14-cr-00144-CMA). The defendant has counsel in the Colorado case

and recently was appointed counsel in the instant case. Discovery in the Colorado case has been

provided under terms essentially the same as requested those here.
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                                                2
       2.      Like wiretap cases generally, this case includes a substantial amount of relatively

sensitive information about a number of persons. In the present case, although some indicted

defendants have been brought into the federal system, a number of other persons are fugitives.

Although pretrial disclosure of Jencks Act material and Rule 26.2 material is not required by

Fed.R.Crim.P. 16, the disclosure of some such material before trial may facilitate the resolution of

the present case by trial or by plea agreement. Subject to the entry of a protective order, the

Government plans to disclose an extensive amount of Jencks Act material to the defense in the

next few weeks. The Government does reserve the right to limit the disclosure of material pursuant

to the terms of Rule 26.2 and the Jencks Act, in part to avoid controversy and sanctions from any

inadvertent omission.

       3.      The Government has developed or acquired, and may in the future develop or

acquire, documentary material (the media by means of which Jencks Act, Rule 26.2, and Rule 16

material may include electronically formatted audio files, video files, images, documents, digital

files, and pictures) concerning persons who may be or become defendants or witnesses in the

instant case and/or Criminal Number 14-cr-00144-CMA, now pending in the District of Colorado.

       4.      Examples of such material include photographic records of a person who may

become a witness and NCIC records and other records including personal identifying information

of one or more persons who may become a witness. Jencks Act material also includes some reports

detailing the statements of one or more witnesses, potentially including statements or reports of

statements reflecting debriefing with law enforcement investigators. Such statements arguably

would be subject to disclosure at the time of trial, if the witness(es) concerned were called to

testify, pursuant to the Jencks Act, at Title 18 U.S.C. § 3500, and Fed. R. Crim. P. 26.2. See also
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United States v. Ruiz, 536 U.S. 622, 631-32 (2002)(upholding the right of the Government to

withhold confidential informant information in the context of plea bargaining before trial).

       4.      In order to expedite the progress of this case, the Government asks the Court for a

protective order imposing requirements of care and control as to certain documents in order to

serve the purposes of the Jencks Act at Title 18 U.S.C. § 3500, Rule 26.2, Rule 1, Rule 49.1, Rule

16 and Ruiz. The valid public policy purposes served by the Jencks Act include permitting the

Government to develop an investigation without the premature disclosure or publication of

information concerning the direction of the investigation and the protection of witness information

from abuse.

       5.      The Government is concerned with precluding the unwarranted publication of

information about persons assisting law enforcement, including the possible publication or

distribution of audio files, video files, a photograph or addresses, dates of birth, or Social Security

information concerning a person or persons cooperating with law enforcement by means of the

internet or any other means of publication or distribution outside of the official use of material.

The publication of certain documentary material in the past has been known, upon occasion, to

produce an inflammatory reaction among persons involved in a culture of criminal activity. The

Government has discovered that such publication of printed materials may result in a negative and

destructive reaction on the part of certain individuals directed at persons believed to be

Government informants, Government witnesses, or persons otherwise cooperating with law

enforcement. The unregulated circulation of such documents, files or photographs would not serve

the public interest. The general public availability of a photograph, for example, of a person

accused of assisting law enforcement may increase the level of risk for such a person by enabling
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                                                 2
strangers to identify such a person. Similarly, specific personal identifying information normally

contained in an NCIC/CCIC report or other official records might result in some form of identity

theft or some other form of abuse unless the uses of such records are regulated by protective order.

       6.      In order to reduce the complications that may flow from pretrial disclosure of

Jencks Act material, Rule 26.2 information, and certain Rule 16 material, the Government

respectfully asks the Court for an order limiting the circulation of Jencks Act material and Rule

26.2 material or information, such as witness statements or reports of witness statements, and Rule

16 material, including any photographs, video files, audio files, and personal identifying

information such as NCIC/CCIC reports, dates of birth, home addresses, or Social Security

information released before trial by the Government.

       7.      The Government respectfully asks the Court to limit the use of such material by the

defense to pretrial preparations and official judicial proceedings specifically involving the pending

criminal case of the above named defendant in the instant case, including any appeal. The

Government does not object to the defendant being permitted to read or review the Jencks Act,

Rule 26.2, and Rule16 material; however, the Government requests that sensitive Jencks Act

material and Rule 26.2 material, and personal identifying information of witnesses, including

witness statements or reports of debriefings, statements by witnesses or persons assisting law

enforcement, and any pictures of such persons, shall remain at all times in the positive control of

the attorney for the defendant or a member of the defense attorney’s confidential staff, a

professional defense investigator working with the defense attorney, a confidential assistant

employed by the defense attorney, or an official in any detention facility where the defendant is

held pursuant to court order. In the event that the defendant remains in custody of the U.S. Marshal
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pending the outcome of this and the Colorado cases, the Government requests authorization to

coordinate with the U.S. Marshal and the defense so that, to the extent such arrangements are

available and reasonable, the defendant may have access to electronically stored information in a

read-only format under the control and supervision of the responsible custodial representative of

the U.S. Marshal. Such Jencks Act material, audio files, video files and photographs of persons

should not be entrusted to the exclusive custody and control of the defendant. Similarly, the

Government asks the Court to direct that custody of records showing personal identifying

information of witnesses disclosed to the defense, such as any NCIC/CCIC reports relating to

witnesses, be maintained in the same way.

          8.    It is further requested that, at the conclusion of the case, the described Jencks Act

material, NCIC/CCIC reports, and any photographs be returned to the United States Attorney’s

Office.

          9.    The Government does not anticipate confusion regarding the status of documents

disclosed before trial. However, the Government proposes that, if the parties cannot agree as to

whether some specific document falls within the proposed protective order or should be exempt

from the protective order, the defense or the Government will bring the disputed issue regarding

specific arrangements or documents to the Court for further consideration.

          WHEREFORE, based upon the foregoing information, the United States respectfully

requests this Court grant the Government's Motion for Protective Order for Discovery.
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                                           2
      DATED this 2nd day of May, 2017.

                                                Respectfully submitted,


                                         By: s/Guy Till
                                               Guy Till
                                               Special Assistant United States Attorney
                                               1801 California St., Suite 1600
                                               Denver, CO 80202
                                               Telephone: (303) 454-0100
                                               Fax: (303) 454-0401
                                               e-mail: guy.till@usdoj.gov
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                               CERTIFICATE OF SERVICE

         I hereby certify that on this 2nd day of May, 2017, I electronically filed the foregoing
GOVERNMENT'S UNOPPOSED MOTION FOR PROTECTIVE ORDER FOR DISCOVERY
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to all counsel of record in this case.



                                     s/Maggie E. Grenvik
                                     Maggie E. Grenvik
                                     Legal Assistant
                                     U.S. Attorney's Office
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF WYOMING

 UNITED STATES OF AMERICA,

                          Plaintiff,

         v.                                                       Case No. 14-cr-7-J

 MARCO CASTRO-CRUZ,
 aka Juan Ramirez-Perez,
 aka Guero

                          Defendant.




     PROTECTIVE ORDER REGARDING JENCKS ACT MATERIAL, RULE 26.2
         MATERIAL, RULE 49.1 MATERIAL, AND RULE 16 MATERIAL



       THE COURT has received, read, and reviewed the Government's Motion for protective

Order for Jencks Act, Rule 26.2, Rule 49.1, and Rule 16 Material (Doc. # 153), filed November 4,

2014, concerning the use, custody, and circulation of Jencks Act material, Fed. R. Crim. P 26.2

material, and Fed. R. Crim. P. 16 material disclosed and to be disclosed to the defense. See Title

18 U.S.C. § 3500; Fed.R.Crim.P. 16(a)(2), 26.2 and 49.1; Giglio v. United States, 405 U.S. 150

(1972); United States v. Ruiz, 536 U.S. 622, 631-32 (2002) (upholding the right of the Government

to withhold confidential informant information in the context of plea bargaining before trial).

       The Government informs the Court that the underlying investigation involved electronic

and wiretap surveillance activities which generated digitally recorded files and other material

subject to disclosure at trial or before trial. For good cause, the Court may enter a protective order

regulating discovery in a criminal case pursuant to Fed. R. Crim. P. 16(d) and the All Writs Act,

Title 28 U.S.C. § 1651.
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       The Court is familiar with the file in this case and has reviewed the motion. The

Government has expressed concerns that Jencks Act material, and some Rule 26.2, and Rule 16

material, such as photographs of persons, witness statements (including those recorded on audio

or video), recordings and transcripts of undercover transactions, reports containing the names of

cooperating witnesses or other persons assisting law enforcement, and documents with personal

identifying information such as NCIC and similar reports, shall not be left in the exclusive custody

of a defendant or be published outside of official proceedings in this case. The Government cites

concerns for witnesses or other persons that could stem from the unauthorized publication,

duplication, or circulation of such material which the Government intends to disclose to the

defense in the context of general pretrial discovery or prior to pretrial court hearings and trial.

       The Court finds and concludes that the concerns expressed have some merit, that the burden

on both parties in controlling the dissemination of such material disclosed to the defense before

trial directed below is not unreasonably burdensome, and further, that the procedure outlined

herein for early disclosure of Jencks Act material may encourage the fair and prompt resolution of

the case.

       Accordingly, the Court finds and concludes that it is in the best interests of justice to grant

the Government's motion.




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          THEREFORE, IT IS ORDERED as follows:

       The Government's Motion for Protective Order for Jencks Act and Certain Rule 26.2 and

Rule 16 Material is GRANTED. Audio files and video files generated during the investigation

and disclosed by the government shall not be duplicated or distributed except for use in official

court proceedings and for duplication and delivery to the detention centers, as set forth below. All

Jencks material, all witness statements and reports of witness statements or debriefings (both

written and recorded on audio and video), photographs depicting persons, documents with personal

identifying information of individuals such as addresses, dates of birth, social security numbers,

and any NCIC/CCIC or similar records, and reports or statements of witnesses, furnished to the

defense by the Government in this case, provided pursuant to Jencks, Rule 26.2 or Rule 16, shall

be used only for official purposes related to judicial proceedings in this case, to include any appeal,

and for no other purpose.

       Further, all documents provided by the Government containing personal identifying

information shall be handled in accordance with Rule 49.1. If redaction is not possible in the view

of a party, the parties may request the Court to determine this issue.

       The defendant is detained pending trial in the District of Colorado, and the parties are

directed to coordinate with either the U.S. Marshal Service or the appropriate authority at the

detention facility to ensure the reasonable availability of the pretrial discovery material, by use of

read-only computers, under the custody and control of the warden, sheriff, superintendent or

official in charge of the facility where the defendant is being detained before trial. Such facilities

must not allow a defendant to e-mail, print, or duplicate the material.

       The parties agree that such material shall remain in the physical custody and control of

officials permitting a defendant to review material on a judicially provisioned computer in relation


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to this case as described above. Should the defendant be released on bond, the material may be

reviewed under supervision of the defense attorney who has entered an appearance in this case,

their associates, and the confidential employees or assistants working with such defense attorney.

The material will not be entrusted to the care and custody the defendant without such supervision.

        The material provided to the detention facilities shall be the same as the unredacted set of

discs provided to defense counsel, unless the Government prepares a separate version and provides

counsel with a list of excluded pages by bates stamp number or document control number. Any

material excluded from the discs provided to the detention facilities may be reviewed in person by

the defendant and defense counsel during attorney client detention facility visits, using the

attorney’s computer.

        With the exception of copies prepared by counsel of record or their staff for official use in

relation to this case, unless the attorneys for the defense and the Government come to a specific

understanding to the contrary, the Jencks Act material, and above-specified Rule 26.2, and Rule

16 written and electronically recorded material disclosed to the defense shall not be copied,

reproduced, published or publicly circulated by the defense without further order of Court or until

such material is used in judicial proceedings at time of trial or in official hearings or proceedings

related to this case.

        In the event the defense and the Government agree that certain materials or documents

should be exempted from the limits otherwise imposed by this Order, they may exempt such

material by mutual agreement. Conversely, if the parties cannot agree on redaction as an

appropriate remedy for some of the material, they will seek a ruling by the Court. Similarly, in the

event the defense and the Government disagree or are unclear about the meaning or application of



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this Order with respect to some document, digital file, photograph, or other material in the case,

the parties may bring the issue to the attention of the Court.

       At the conclusion of the case, the described Rule 16 material, Rule 26.2 material, Jencks

Act material, NCIC/CCIC records, digital files, and photographs may be returned to the

Government or disposed of in a manner that prevents unauthorized disclosure.

         SO ORDERED this                 day of _____________, 2017, at Denver, Colorado.

                                                         BY THE COURT:




                                                        Honorable Alan B Johnson
                                                        United States District Judge




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                          IN THE UNITED STATES DISTRICT COURT                             20(IK^y-3 PH 5: 13
                              FOR THE DISTRICT OF WYOMING
                                                                                         STEPHah w'Awi',; ': ri
  UNITED STATES OF AMERICA,                                                                      ckeyekne

                          Plaintiff,

          V.                                                       Case No. 14-cr-7-J


  MARCO CASTRO-CRUZ,
  aka Juan Ramirez-Perez,
  aka Guero


                          Defendant.




       PROTECTIVE ORDER REGARDING JENCKS ACT MATERIAL, RULE 26.2
           MATERIAL, RULE 49.1 MATERIAL, AND RULE 16 MATERIAL



         THE COURT has received, read, and reviewed the Government's Motion for protective
                                                                                         6/Z//7
 Order for Jencks Act, Rule 26.2, Rule 49.1, and Rule 16 Material (Doc. # 153), filed Nuvcmbci 4,

 2014, concerning the use, custody, and circulation of Jencks Act material. Fed. R. Crim. P 26.2

 material, and Fed. R. Crim. P. 16 material disclosed and to be disclosed to the defense. See Title

  18 U.S.C. § 3500; Fed.R.Crim.P. 16(a)(2), 26.2 and 49.1; Giglio v. United States, 405 U.S. 150

 (1972); United States V. Ruiz, 536 U.S. 622,631-32 (2002) (upholding the right of the Government

 to withhold confidential informant information in the context of plea bargaining before trial).

         The Government informs the Court that the underlying investigation involved electronic

 and wiretap surveillance activities which generated digitally recorded files and other material

 subject to disclosure at trial or before trial. For good cause, the Court may enter a protective order

 regulating discovery in a criminal case pursuant to Fed. R. Crim. P. 16(d) and the All Writs Act,

 Title 28 U.S.C. §1651.
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         The Court is familiar with the file in this case and has reviewed the motion. The

 Government has expressed concerns that Jencks Act material, and some Rule 26.2, and Rule 16

 material, such as photographs of persons, witness statements (including those recorded on audio

 or video), recordings and transcripts of undercover transactions, reports containing the names of

 cooperating witnesses or other persons assisting law enforcement, and documents with personal

 identifying information such as NCIC and similar reports, shall not be left in the exclusive custody

 of a defendant or be published outside of official proceedings in this case. The Government cites

 concerns for witnesses or other persons that could stem from the unauthorized publication,

 duplication, or circulation of such material which the Government intends to disclose to the

 defense in the context of general pretrial discovery or prior to pretrial court hearings and trial.

         The Court finds and concludes that the concerns expressed have some merit, that the burden

 on both parties in controlling the dissemination of such material disclosed to the defense before

 trial directed below is not unreasonably burdensome, and further, that the procedure outlined

 herein for early disclosure of Jencks Act material may encourage the fair and prompt resolution of

 the case.


         Accordingly, the Court finds and concludes that it is in the best interests ofjustice to grant

 the Government's motion.
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           THEREFORE, IT IS ORDERED as follows:

         The Government's Motion for Protective Order for Jencks Act and Certain Rule 26.2 and

 Rule 16 Material is GRANTED. Audio files and video files generated during the investigation

 and disclosed by the government shall not be duplicated or distributed except for use in official

 court proceedings and for duplication and delivery to the detention centers, as set forth below. All

 Jencks material, all witness statements and reports of witness statements or debriefings (both

 written and recorded on audio and video), photographs depicting persons, documents witlipersonal

  identifying information of individuals such as addresses, dates of birth, social security numbers,

 and any NCIC/CCIC or similar records, and reports or statements of witnesses, furnished to the

 defense by the Government in this case, provided pursuant to Jencks, Rule 26.2 or Rule 16, shall

 be used only for official purposesrelated tojudicial proceedings in this case, to includeany appeal,

 and for no other purpose.

         Further, all documents provided by the Government containing personal identifying

  information shall be handled in accordance with Rule 49.1. If redaction is not possible in the view

 of a party, the parties may request the Court to determine this issue.

         The defendant is detained pending trial in the District of Colorado, and the parties are

 directed to coordinate with either the U.S. Marshal Service or the appropriate authority at the

 detention facility to ensure the reasonable availability of the pretrial discovery material, by use of

  read-only computers, under the custody and control of the warden, sheriff, superintendent or

 official in charge of the facility where the defendant is being detained before trial. Such facilities

  must not allow a defendant to e-mail, print, or duplicate the material.

         The parties agree that such material shall remain in the physical custody and control of

 officials permitting a defendant to review material on a judicially provisioned computer in relation
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  to this case as described above. Should the defendant be released on bond, the material may be

  reviewed under supervision of the defense attorney who has entered an appearance in this case,

 their associates, and the confidential employees or assistants working with such defense attorney.

 The material will not be entrusted to the care and custody the defendant without such supervision.

         The material provided to the detention facilities shall be the same as the unredacted set of

 discs provided to defense counsel, unless the Government prepares a separate version and provides

 counsel with a list of excluded pages by bates stamp number or document control number. Any

 material excluded from the discs provided to the detention facilities may be reviewed in person by

 the defendant and defense counsel during attorney client detention facility visits, using the

 attorney's computer.

         With the exception of copies prepared by counsel of record or their staff for official use in

 relation to this case, unless the attorneys for the defense and the Government come to a specific

 understanding to the contrary, the Jencks Act material, and above-specified Rule 26.2, and Rule

  16 written and electronically recorded material disclosed to the defense shall not be copied,

 reproduced, published or publicly circulated by the defense without further order of Court or until

 such material is used in judicial proceedings at time of trial or in official hearings or proceedings

 related to this case.


         In the event the defense and the Government agree that certain materials or documents

 should be exempted from the limits otherwise imposed by this Order, they may exempt such

 material by mutual agreement. Conversely, if the parties cannot agree on redaction as an

 appropriate remedy for some of the material, they will seek a ruling by the Court. Similarly, in the

 event the defense and the Government disagree or are unclear about the meaning or application of
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  this Order witli respect to some document, digital file, photograph, or other material in the case,

  the parties may bring the issue to the attention of the Court.

         At the conclusion of the case, the described Rule 16 material, Rule 26.2 material, Jencks

  Act material, NCIC/CCIC records, digital files, and photographs may be returned to the

  Government or disposed of in a manner that prevents unauthorized disclosure.

           SO   ORDERED this _j3_day^ of AUyy
                                          „                          2017.
                                                           BY THE COURT:




                                                         ^ Honorable Alan B Jobffson
                                                           United States District Judge
